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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7      UNITED STATES OF AMERICA,                              Case No. 2:15-CR-11 JCM (CWH)
                 8                                             Plaintiff(s),                       ORDER
                 9             v.
               10       JEROME MICHAEL BELL and
                        DESHAWN WALKER,
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                                                             Defendant(s).
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                              Presently before the court is Assistant Federal Public Defender Cristen C. Thayer’s ex parte
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                       motion to withdraw as attorney. (ECF No. 221).
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                              Local Rule IA 11-6(e) provides that “[e]xcept for good cause shown, no withdrawal or
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                       substitution will be approved if it will result in delay of discovery, the trial, or any hearing in the
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                       case.” LR IA 11-6(e). There is currently no discovery, trial, or hearing pending. Thus, Ms.
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                       Thayer’s withdrawal will not delay the instant case from proceeding.
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                              Ms. Thayer indicates good cause for her withdrawal. A prohibitive conflict prevents the
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                       existing counsel from accepting appointment for Mr. Bell’s motion to vacate. (ECF No. 221).
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                              Consequently, the court will grant Ms. Thayer’s motion to withdraw as attorney.
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                              Accordingly,
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                              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Ms. Thayer’s motion to
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                       withdraw as attorney (ECF No. 221) be, and the same hereby is, GRANTED.
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James C. Mahan
U.S. District Judge
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                1             IT IS FURTHER ORDERED that defendant Jerome Michael Bell shall be appointed
                2      counsel pursuant to the Criminal Justice Act to review his interests under General Order 2019-06
                3      and, if applicable, pursue any appropriate petitions, motions, or applications relating thereto.
                4             DATED July 17, 2020.
                5                                                    __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                    -2-
